Case 2:90-cv-00520-KJM-SCR   Document 7333-2   Filed 09/29/21   Page 1 of 7




             APPENDIX B
Case 2:90-cv-00520-KJM-SCR            Document 7333-2        Filed 09/29/21      Page 2 of 7


      Negotiated or Court-Ordered Remedial Measures Related to Custodial Issues Not
                      Included in the 2021 Program Guide Revision

 I.      Regulations

     California Code of Regulations (CCR), Title 15, Section 3040.1, subdivisions (a) and (b),
      regarding Cognitive Behavioral Treatment and Substance Abuse Treatment Criteria.
      This regulation codifies provisions of the April 16, 2013, memo Placement Criteria for
      Substance Abuse Treatment Programs.
     CCR Title 15, Section 3043.2 subdivisions (b)(5)(A) Good Conduct Credit.
     CCR Title 15, Section 3043.3, subdivision (f)(2), regarding Credit Earning. This
      regulation codifies provisions of the July 7, 2014, memo Milestone Completion Credits
      for Participants in the Mental Health Services Delivery System at the Enhanced
      Outpatient Program Level of Care.
     CCR Title 15, Section 3044 subdivisions (b)(8)(B), (f)(2)(E), (f)(2)(J), (f)(2)(K), Inmate
      Work Groups and Privilege Groups.
     CCR Title 15, Section 3190, subdivisions (c) and (l)(3), General Policy regarding
      Personal Property and Religious Personal Property, specifically for inmates in
      segregation. Subdivision (1)(3) codifies provisions of the March 12, 2007, memo
      Televisions in Segregation Units, the April 27, 2007, memo Classification Regarding
      Entertainment Appliances in Administrative Segregation Units, the December 14, 2010,
      memo Entertainment Appliances in Administrative Segregation, the March 20, 2013,
      memo Administrative Segregation Unit Requirements Regarding Clustering and
      Entertainment Appliances, and the January 22, 2014, memo Multi-Powered Radio Loaner
      Program in Administrative Segregation Units.
     CCR Title 15, section 3269, Inmate Housing Assignment.
     CCR Title 15, Section 3310, subdivision (d), Definitions as modified via the court’s May
      4, 2015 Order (ECF no. 5305).
     CCR Title 15, Section 3314 subdivision (e)(3), Administrative Rule Violations
     CCR Title 15, section 3315, subdivisions (d)(2)(A)3,(d)(2)(E)(1), and (f)(5)(C), regarding
      Serious Rule Violations
     CCR Title 15, Section 3317, Mental Health Assessment for Disciplinary Proceedings.
     CCR Title 15, Section 3317.1, Documenting Rules Violations in an Alternate Manner for
      Inmates in the MHSDS or the Developmental Disability Program.
     CCR Title 15, Section 3317.2, Behaviors Related to Mental Illness or Developmental
      Disability/Cognitive or Adaptive Functioning Deficits Excluded from Rules Violation
      Reports.
     CCR Title 15, Section 3335, subdivision (a), Administrative Segregation, Non
      Disciplinary Segregation (NDS).
    Case 2:90-cv-00520-KJM-SCR             Document 7333-2       Filed 09/29/21     Page 3 of 7


           CCR Title 15, section 3340, subdivision (a)(4) and (a)(4)(A), regarding Assistance to
            Inmates for Administrative Segregation Classification Hearings
           CCR Title 15, section 3341.2, Psychiatric Services Unit
           CCR Title 15, Section 3341.8, subdivision (b), Security Housing Unit/Psychiatric
            Services Unit Classification Hearings, Pre-MERD Hearing. This regulation codifies
            provisions of the September 12, 2014, memo 120-Day Pre-Minimum Eligible Release
            Date Review Expectations.
           CCR Title 15, section 3342, subdivision (b), regarding Case Review
           CCR Title 15, section 3344, subdivision (b), regarding Administrative Segregation
            Records
           CCR Title 15, Section 3375.3, subdivision (a)(5), regarding CDCR Classification Score
            Sheet, CDCR Form 839, Calculations, Mental Illness (Box 43). This regulation codifies
            provisions of the June 26, 2012, memo Classification Score Sheet (CDCR Form 839)
            Mental Health Services Delivery System (MHSDS) Assessment Points, and the
            September 5, 2008, memo Discontinuance of the “Four Points” Assessment.
           CCR Title 15, Section 3376, subdivision (d)(3)(E)(1)-(5), Classification Committees.
           CCR Title 15, Sections 3377.1, subdivisions (b)(6)-(b)7) Inmate Custody Designation.


      II.      Department Operations Manual

           Department Operations Manual (DOM) sections 51020.1 through 51020.24, Use of
            Force1.
           DOM section 51030.3, Reportable Incidents (Attempted Suicide).
           Revised DOM section 52050.16.6, Unclothed or Clothed Body Search of Inmates in
            Enhanced Outpatient Program Administrative Segregation Hubs and Psychiatric Services
            Units.
           DOM Section 52080.5.8, Special Consideration of Rules Violations Related to Mental
            Illness or Participation in the Developmental Disability Program.
           DOM section 52080.32, Case Review
           DOM Sections 52100 through 52100.7, Inmate Indecent Exposure and Sexual Disorderly
            Conduct Management.
           DOM section 54046.10, Recommendations for Double Cell or Single Cell Due to Mental
            Health Concerns.
           DOM sections 91020.18 through 91020.18.2, Electronic Control Device, Review of
            Medical/Psychiatric Records, Documenting Review of Medical/Psychiatric Records
           Appendix A, Inmate Property – Matrix – Authorized Personal Property Schedules for
            Administrative Segregation Unit/Security Housing Unit/Psychiatric Services Unit Male
            Inmates and Female Inmates

1
    Section 51020.5 was modified by the October 28, 2015 Order. (ECF No. 5371.)
Case 2:90-cv-00520-KJM-SCR             Document 7333-2       Filed 09/29/21     Page 4 of 7


       Appendix D, Non Disciplinary Segregation (NDS) Personal Property Matrix; This
        property matrix was first announced in CDCR’s September 25, 2013, memo Non
        Disciplinary Segregation Training.

 III.      Policies

       May 18, 2006, memo Instructions for Awarding Favorable Behavior Points to I/Ps
        assigned to EOP GP.
       March 30, 2007, memo CCCMS Housing and Program Accessibility.
       August 31, 2007, memo Amended Policy for Adult Males Referred for Treatment of
        Exhibitionism.
       May 3, 2012, memo regarding Therapeutic Treatment Module Specifications.
       February 13, 2013, memo Removal of Health Care Appliances .
       March 21, 2013, memo Case-Work Expectations, Classification Time Frames, and Psych
        and Return.
       March 25, 2013, memo Notification of All Attempted or Completed Suicides during
        Non-Business Hours.
       October 29, 2013 memo State Issued Clothing and Bedding for Crisis Bed Patients.
       August 14, 2014 memo regarding the Temporary Moratorium on the Use of Management
        Cell Status for Inmates in the MHSDS. That moratorium subsequently became
        permanent when the Management Cell policy was struck on March 7, 2017.
       September 19, 2014 DSH memo Case Conference for Returning DSH Level of Care
        Inmates with Prior Security Housing Unit Placement
       January 7, 2015, memo Change in Credit Earning Status for Inmates Eligible for Day for
        Day Work Credit and Assigned Minimum A/B Custody
       May 5, 2015, memo Weekly Supervisory Review of CDCR For 114-A IM Segregation
        Log.
       June 5, 2015, memo Minimum A Custody and Minimum B Custody Criteria and
        Application.
       August 21, 2015, memo Elimination of Inmate Clerks Typing Rules Violation Report
        Hearing Summaries for Inmate Participants in the Mental Health Services Delivery
        System.
       September 11, 2015, memo (Update) Elimination of Inmate Clerks Typing Rules
        Violation Report Hearing Summaries for Inmate Participants in the Mental Health
        Services Delivery System.
       January 19, 2016, memo Inmate Housing Assignment Consideration During the
        Screening and Housing Process.
       July 5, 2016 memo Utilization of Administrative Determinants Based Upon Positive and
        Negative Inmate Behavior and Increased Access to Rehabilitative Programs, and
        associated regulations, 15 C.C.R. §§ 3375, 3375.2; and
    Case 2:90-cv-00520-KJM-SCR             Document 7333-2           Filed 09/29/21       Page 5 of 7


          August 8, 2016 memo C&PR Approval for Movement to a Higher or Lower Level
           Facility Within the Same Institution
          September 22, 2016, memo Reason for Retaining Inmates in Segregation, Removing
           Medical Hold from COMPSTAT.
          April 21, 2017, memo regarding Expanded Telephone Access and Additional Canteen
           Draw for Reception Center Inmates.
          June 30, 2017, Policy Housing Review/Least Restrictive Housing (12.11.2111).
          July 1, 2017, Policy DSH Rules Violation Reporting Policy – CDCR Patients in DSH
           Inpatient Programs.
          September 6, 2017 Custody and Mental Health Partnership Plan
          January 22, 2018, memo Response to Suicide Attempts by Hanging or Asphyxiation,
           Introduction of the Replacement Cut-Down Tool, and Standardization of the Cut-Down
           Kit.
          September 5, 2018, Court Transfer Documentation and Determination of Patient Ability
           to Attend a Court Hearing Policy.
          September 12, 2019 Updated Custody and Mental Health Partnership Plan
          January 17, 2020 memo Implementation of the Updated Custody and Mental Health
           Partnership Plan
          February 26 , 2021 memo Clarification of Use of Force Policy per Assembly Bill 1196
           and Deadly Force Investigation Team Review of Intentional Baton Head Strikes2
          May 3, 2021, 2021 Heat Plan and Updates. This memorandum is updated annually.
          Psychiatric Services Unit Behavioral Incentive Plan (CSP-SAC OP 129).
          CDCR PIP STEP Policy – CDCR has not finalized this policy as of this writing.


     IV.      Court Orders

          March 24, 1992 and May 11, 1992 Orders Regarding the Heat Plan (ECF Nos. 161 and
           232.)
          July 26, 1999, Order Regarding Staff Obligation to Report Incidents (ECF No. 1055 at ¶
           10.)
          March 12, 2007 Order Regarding Exhibitionism Treatment (ECF No. 2157.)
          November 18, 2010 Order Regarding Suicide Prevention Policies and Practices (ECF No.
           3954.)
          December 5, 2011 Order Regarding Suicide Resistant Beds in MHCBs. (ECF No. 4125.)
          April 10, 2014 Order Regarding Use of Force, Segregation, and Discipline (ECF No.
           5131.)

2
 This memorandum announces changes to the Use of Force DOM provisions. Once the DOM is revised in
accordance with the February 26, 2021 memo, the memo will be removed from Compendium during the annual
update process.
  Case 2:90-cv-00520-KJM-SCR             Document 7333-2         Filed 09/29/21      Page 6 of 7


       August 11, 2014 Orders Implementing Defendants Plans and Policies in Response ECF
        No. 5131 (ECF No. 5196.)
       August 29, 2014 Orders Implementing Defendants Plans and Policies in Response to
        ECF no. 5131. (ECF No. 5212.)
       May 4, 2015 Order in Response to the Special Master’s Report on CDCR’s
        Implementation of Policies and Procedure on Rules Violation Reports (ECF No. 5305.)
       September 24, 2015 Order Regarding the Special Master’s Report on Suicides in the
        Second Half of 2012 (ECF No. 5361.)
       October 28, 2015 Order Modifying the August 11, 2014, Order (ECF no. 5371)
       August 9, 2016 Order Adopting the Special Master’s Twenty-Sixth Round Monitoring
        Report (ECF No. 5477.)
       September 1, 2016 Order Regarding the Use of Guard One at Pelican Bay State Prison’s
        Security Housing Unit (ECF No. 5487.)
       February 20, 2019 Order Regarding Defendant’s Custody and Mental Health Partnership
        Plan (ECF No. 6095.)
       October 8, 2019 Order Regarding Custody and Mental Health Partnership Plan (ECF No.
        6314.)

   V.      Suicide Prevention Recommendations

In its December 24, 2020 Order regarding suicide prevention issues discussed at the December
18, 2020 Status Conference, the court provided a list “Suicide Prevention Recommendations
Remaining to be Fully Implemented.” (ECF No. 7004 at 5-6.) That list is incorporated by
reference into this Compendium. In addition, although the court and Special Master has found
that Defendants are compliant with implementing the following six recommendations, (see ECF
No. 6973) the parties agree that these six recommendations constitute a continuing obligation:

       Recommendation 2 – Expand the length and content of the annual “Crisis Intervention
        and Suicide Prevention” training workshop to include the following topics: (1) self-
        injurious v. suicidal behavior and dealing effectively with inmates perceived to be
        manipulative, (2) identifying inmates at risk for suicide despite their denials of risk, (3)
        updated research on CDCR suicides, (4) identified problem areas and corrective actions
        from previous CDCR suicide reports, and (5) results of any recent Coleman and/or
        SPRFIT audits of suicide prevention practices.
       Recommendation 4 – Ensure that all pre-service and annual suicide prevention training is
        conducted by qualified mental health personnel.
       Recommendation 19 – The perception that all inmates who threaten suicide are
        manipulative persists among the treatment teams as a misguided mindset that should be
        repeatedly addressed at different levels including pre-service and annual suicide
        prevention trainings, the SRE Training and Mentoring Program, and the newly created
        SRE treatment planning webinar.
Case 2:90-cv-00520-KJM-SCR            Document 7333-2        Filed 09/29/21      Page 7 of 7


    Recommendation 24 – Until all alternative housing cells are suicide-resistant, any inmate
     housed in an alternative housing cell that is not suicide-resistant should be observed on a
     continuous basis until transferred to an MHCB.
    Recommendation 25 – Any inmate housed in an alternative housing cell that is suicide-
     resistant should be observed at staggered intervals not to exceed every 15 minutes
     (Suicide Precaution), or be on continuous observation (Suicide Watch), depending on the
     level of the inmate’s suicide risk.
    Recommendation 30 – Five-day follow-up assessments and 30-minute checks by custody
     staff should never be utilized as an alternative to MHCB or alternative housing for an
     inmate expressing suicidal ideation and/or engaging in self-injurious behavior.
